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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                             :       DOCKET NO. 2:13-cr-00315(5)

VS.                                                  :       JUDGE DRELL

RAUL PEREZ MENDOZA                                   :       MAGISTRATE JUDGE KAY


                REPORT AND RECOMMENDATION ON FELONY
           GUILTY PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge on March 9, 2017 at which

time the defendant expressed a desire to waive his right to plead guilty before a District Judge and

enter into a plea before the U. S. Magistrate Judge. Defendant indicated on the record his desire

to consent to proceed before the undersigned and executed a waiver. Defendant was at all times

represented by counsel, LaKetha Walker Holmes.

       After said hearing and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, that his guilty

plea to Count One of the Indictment is fully supported by the written factual basis acknowledged

by defendant orally in court and by his signature on the written document. This factual basis

supports each essential element of the offense to which the defendant pled.
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       Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

ACCEPT the guilty plea of the defendant, Raul Perez Mendoza, and that he be finally adjudged

guilty of the offense charged in Count One of the Indictment.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C), the parties have fourteen (14) days from

service of this Report and Recommendation to file specific, written objections with the Clerk of

Court. Defendant, however, waived his right to file these objections, and, accordingly, the matter

is now deemed submitted to this district court for consideration. Defendant is to remain in the

custody of the U.S. Marshal pending sentencing which is set for June 9, 2017, at 11:00 a.m., in

Lake Charles, Louisiana.

       THUS DONE this 9th day of March, 2017.
